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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
________________________________________________________________________


Philip Sieff, as Trustee for the next-of-kin                  Case No. 15-CV-00419 PAM/DTS
of Dawn Marie Pfister, Deceased,

                                        Plaintiff,
v.                                                            ORDER TO
                                                              DISCONTINUE SEALING
Brady Juell, acting in his individual
capacity as a Chaska Police Officer,

                                        Defendant.



       The above matter came before the undersigned upon the parties’ Joint Motion

Regarding Unsealing Documents (Docket No. 98).

       The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, now makes and enters the following Order:

       IT IS HEREBY ORDERED that:

       1.        The parties’ Joint Motion Regarding Unsealing Documents (Docket No. 98) is

GRANTED.

       2.        The Clerk is directed to unseal the following documents: Docket Nos. 78, 82,

83, 84 and 87.


                                                BY THE COURT:

Date: August 16, 2017                           s/ David T. Schultz
                                                David T. Schultz
                                                United States Magistrate Judge
